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|
UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA, JACKSONVILLE DIVISION Re

INRE: ei
Genie investments NV, Inc., Debtor. coed TH
Case No.;: 3:24-bk-00496-BA) i =
Chapter 7 re 9

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MOT ION FOR SANCTIONS AGAINST CHAPTER 7 TRUSTEE, AKERMAN LLP, AARON COHEN, AND! RAVE
ELLIOTT FOR BAD FAITH LITIGATION, ABUSE OF PROCESS, SUPPRESSION OF EXCULPATORY EVIDENCE,
RETALIATION, AND BREACH OF FIDUCIARY DUTY

COMES NOW, Movants, John Michael Cohan and David Hughes, specially appearing pro se. To be very
clear, this is not an attempt by Movants to violate Florida Local Rule 1074-1 as Movants are in their personal
capacities as individuals representing themselves, their personal property, personal interests, personal
securities'and personal assets, and respectfully move this Court to impose sanctions against Trustee
Aaron R. Cohen, Akerman LLP, and Raye Curry Elliott for engaging in bad-faith litigation, abuse of
process, suppression of exculpatory evidence, retaliation, breach of fiduciary duty, mistepresentations

made to this Court and infringement of Movants’ constitutional claims/rights.

Movants bring this action solely in their individual capacities to redress the intentional legal and financial
harm inflicted upon them by the Trustee’s improper litigation tactics, which have obstructed their
independent claims, violated their constitutional rights, and coerced them into hiring attorneys
personally to defend their personal assets against an Adversary Proceeding that was strategically filed
to exert pressure upon them. In support, Movants state as follows:

|. INTRODUCTION & BASIS FOR SANCTIONS
1. The Trustee, Akerman LLP, Aaron R. Cohen and Raye Curry Elliott, hereinafter the “Trustee”,
have engaged in a pattern of bad-faith litigation designed to suppress Movants’ personal claims,
suppress exculpatory evidence, and coerce Movants into expending personal resources for
legal counsel under improper threats.

The Trustee’s misuse of procedural tactics, including stays and an Adversary proceeding, has personally
harmed Movants, despite the Trustee’s full knowledge that Movants were asserting personal and
independent claims separate from those of the bankruptcy estate. (Exhibit B and C of the TRUSTEE’S
RESPONSE TO COMBINED MOTION FOR SANCTIONS AND PROTECTIVE ORDER AGAINST CHAPTER 7
TRUSTEE FOR RETALIATORY CONDUCT, ABUSE OF PROCESS, AND BREACH OF FIDUCIARY DUTY, hereinafter
referred to as “Trustee’s Response”, Exhibit G and H of COMBINED MOTIGN FOR SANCTIONS AND
PROTECTIVE ORDER AGAINST CHAPTER 7 TRUSTEE FOR RETALIATORY CONDUCT, ABUSE OF PROCESS,

AND BREACH OF FIDUCIARY DUTY, hereinafter referred to as “Original Motion” and Exhibit A, B and C of
MOVANTS’ BRIEF ON THE INAPPLICABILITY OF THE AUTOMATIC STAYS TO PERSONAL CLAIMS hereinafter

referred to'as “Brief.”)

2. Despite being fully aware that Movants had independent claims against Joshua Wearmouth,
Velanos, Resydency, Nordic Trust Alliance KB, Scarinci Hollenbeck, Warren Law Group, and
Scott Oh, the Trustee improperly sought stays in these cases while also withholding material
evidence that contradicted the Trustee’s position.

. The Trustee engaged in a pattern of misrepresentation and omission, misleading the Court about
| Movants’ independent claims. This is a clear violation of Florida Rules of Professional
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Conduct, Rule 4-3.3, which prohibits attorneys from knowingly making false statements or
omitting material facts.

e The Trustee deliberately omitted exculpatory evidence, including correspondence that
demonstrated Movants’ independent claims and financial interests.

«. The Trustee used procedural litigation tactics, forcing Movants into hiring legal counsel—a
| Cost personally incurred by Movants to defend their personal assets, interests, property,
' securities and financial claims.

Movants had good-faith discussions with the Trustee, presenting their legal basis for their
personal ctaims and outlining their companies’ defenses in advance. (Exhibit B and C of the
Trustee’s Response and Exhibit G and H of the Original motion and Exhibit C of the Brief) instead of
engaging in a fair resolution, the Trustee proceeded with stays and the baseless Adversary

Complaint against Movants’ personal claims and personal assets.
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The Trustee sought to improperly expand the automatic stay to include claims that are not property of
the estate, directly violating in re Thorpe Insulation Co., 677 F.3d 869 (9th Cir. 2012) and in re Smart
Worid Technologies, LLC, 423 F.3d 166 (2d Cir. 2005).

The Trustee’s actions violate his fiduciary duty under Christensen v. Jubber (in re Christensen), 106
F.3d 403 (10th Cir. 1997), which holds that a trustee must act in the best interests of all
stakeholders, including estate beneficiaries—a duty that the Trustee has flagrantly disregarded.

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° The first retaliatory demand letter sent to Movants personally threatened them with

| sanctions if they continued pursuing their constitutional rights against Warren Law Group.

' This was followed by a barrage of back-to-back demand letters issued within a one half-hour
period, reinforcing a deliberate pattern of intimidation and suppression of independent

, Claims specifically targeting Movants personally. These letters were not standard demand

| notices but were strategically crafted to obstruct Movants’ independent claims by setting

- impossibly short deadlines that conveniently coincided with Movants’ own legal deadlines.

: (Exhibits A through H of the Original Motion, Exhibit A of Trustee’s Response and Exhibit A, B
and C of this motion.)

The Trustee argues that the demand letters sent to the Movants personally were not retaliatory
actions but instead, a "coincidence of timing.” However, this claim is categorically false.

e: The cease-and-desist demands were issued within two hours of Movants pursuing their
personal constitutionally protected claims—a direct attempt at intimidation and
suppression of Movants’ personal legal rights (Exhibits A and B of this motion).

«| Additionally, the Trustee's argument that Movants’ personal claims against the Warren Law
Group would deplete malpractice insurance and harm the bankruptcy estate is legally

' flawed. Courts have ruled that defense costs do not justify blocking a valid claim. In Buss v.

, Superior Court, 16 Cal. 4th 35, 45 (1997), the California Supreme Court affirmed that an

’ insurer’s duty to defend is contractual and separate from indemnification, meaning policy

exhaustion is not a valid excuse to preclude a legitimate claim.

Florida law defines abuse of process as using legal procedures for improper purposes. The
10-day demand letters conveniently obstructed Movants’ 14-day demands for personal

claims—an action that clearly deviates from industry-standard demand periods of 14 to 30
days.
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e The Trustee’s sudden personal attack of John Michael Cohan, David Hughes and their
personal assets after six months of inaction further contradicts his claim of coincidence.
| Courts have ruled that misuse of legal actions for retaliation constitutes abuse of process
' (Miami Herald Publishing Company v. Ferre, 636 F. Supp. 970 (S.D. Fla. 1985)). The timing of
these letters and threats of sanctions is not a coincidence—it is deliberate retaliation.

Even though the Movants have not been personally sued, the Trustee’s actions demonstrate a
deliberate and strategic effort to litigate against them indirectly through procedural manipulation,
threats, and the suppression of their personal constitutional rights. The timing of the retaliatory
demand letters, coupled with the Trustee’s immediate suppression of Movants’ personal
constitutional claims, reveals a deliberate scheme of bad-faith litigation. The Trustee strategically
pursued stays and Adversary Complaint to coerce Movants into hiring attorneys and prevent them
from asserting their personal rights, despite being informed that they were personaily pursuing
independent claims.
* | Ifthe Trustee truly believed that Movants had no valid claims, they would not have responded

' with immediate legal threats and procedural suppression tactics—instead, he would have

; simply let their lawsuits proceed. Their attempt to weaponize procedural rules to suppress

_ Movants’ constitutional rights must not be tolerated, as the Court’s concern regarding a lack of

, & personal lawsuit does not negate the clear evidence of direct retaliation and suppression

' of legal claims.
|

The Trustee’s claim that the demand letters were not retaliatory is demonstrably false. Their timing—
amere 2 days after Movants asserted their legal rights—proves a deliberate effort to intimidate
and suppress valid claims. Courts have long recognized that the misuse of legal actions for
retaliatory purposes constitutes abuse of process (Miami Herald Publishing Company v. Ferre, 636
F. Supp. 970 (S.D. Fla. 1985).

The Trustee further engaged in procedural manipulation by seeking a stay in the Joshua
Wearmouth case, but only sought a stay in the Warren Law Group case after Movants pointed
out that no stay had been filed. (Line 5 subsection “Prior Discussions and Repeated Distractions” in
Movants’ AMENDMENT TO MOTION TO STRIKE TRUSTEE'S MOTION FOR AUTOMATIC STAY AS
PROCEDURALLY IMPROPER, MOTION FOR RECONSIDERATION OF ORDER GRANTING TRUSTEE'S
MOTION TO STRIKE MOVANTS' MOTION TO DISMISS ADVERSARY COMPLAINT, AND REQUEST FOR
ADDITIONAL SANCTIONS FOR CLEAR BREACH OF FIDUCIARY DUTY) The Trustee’s incansistent
application of stays demonstrates an intent to manipulate the legal process. Notably, they failed to
seek a stay in the Warren Law Group case until Movants pointed out this omission, revealing his
strategy to selectively obstruct specific claims while allowing others to proceed. This demonstrates
selective enforcement and an attempt to retroactively justify an inconsistent litigation strategy.
The Trustee aggressively pursued Movants while avoiding action against more culpable parties, such
as Warren Law Group, and other third parties, demonstrating a pattern of selective enforcement that
violates fundamental fairness in bankruptcy proceedings.

The Trustee’s misrepresentations to the Court are a clear abuse of process. They deliberately
withheld exculpatory evidence and misled the Court to justify an improper legal position.

Fu rther, the Trustee detiberately mischaracterized Movants as “mere principals and owners”
while omitting their legally recognized status as beneficiaries of the estate, violating fiduciary
obligations under Christensen v. Jubber (In re Christensen), 106 F.3d 403 (10th Cir. 1997).

* ' These actions amount to bad-faith litigation, suppression of material evidence, and

intentional misrepresentation before the Court.
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« Rewind to the 4th 341 meeting the Trustee referenced in the Trustee’s Response. The
| Meeting date, on September 19, 2024 — 127 days prior to their threatening demand letters—
| Was intentionally omitted from the Trustee’s Response to mislead the Court.
. At that meeting, according to the Trustee, the Trustee had made the decision to file an
| Adversary Complaint against the Movants’ personal assets—contradicting their later claim
| that their demand letters were unrelated.
«' According to the Trustee, the Trustee knew at that time that he planned to bring an Adversary
Complaint against the Movants’ assets, which directly refutes their claim of “coincidence”
| regarding the demand letters sent within 48 hours of Movants exercising their constitutional
rights. This timeline comptetely refutes their argument of “coincidence.”
The itlegitimate legal basis the Trustee used to justify their actions further proves their intent to
mislead the Court, The Adversary Complaint is simply a byproduct of the Trustee’s
intentional bad-faith litigation against Movants personally which should procedurally strike
it from the record based on established authoritative legal precedent. ((Chambers v. NASCO,
' Ine., 501 U.S. 32 (1991); Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980); in re Yorkshire LLC,
540 F.3d 328 (5th Cir. 2008); Aoude v. Mobil Oil Corp., 892 F.2d 1115 (1st Cir. 1989); in re Gorski,
| 766 F.2d 723 (2d Cir. 1985); Fed. R. Civ. P. 12(f}; Fed. R. Bankr. P. 7012; In re Silberkraus, 336
| F.3d 864 (9th Cir. 2003))
Precluding the demand letters and threat of sanctions against Movants personally, Exhibit G of
Movant’s Original Motion, validates the Trustee’s bad faith. The Trustee attempted to suppress
information that was not under a protective order and impose unnecessary contidentiality
restrictions, constituting a clear violation of fiduciary duties and an abuse of discretion.

The Trustee has no legal authority to restrict access to publicly available or non-confidential
material. Such actions obstruct transparency, prevent Movants from effectively asserting their
personal rights, and indicate an attempt to manipulate the bankruptcy proceedings to favor certain

parties while disadvantaging others.

_¢@ This suppression not only undermines the fundamental principtes of fairness in bankruptcy
but also raises concerns regarding the Trustee’s true motivations in selectively withholding
critical information. See Commodity Futures Trading Commission v. Weintraub, 471 U.S. 343
(1985), inre Thorpe insulation Co., 677 F.3d 869 (9th Cir. 2012), and in re Smart World

Technologies, LLC, 423 F.3d 166 (2d Cir. 2005).

Given the vast records submitted by the Debtor in this case, it was unreasonable for the Trustee to
assert fraud without first requesting additional information from Movants. The omission of these
details from the Adversary Complaint further proves that the Trustee deliberately suppressed
exculpatory evidence to manufacture a case against Movants’ personal assets and pressure
them into hiring legal counsel which Movants will do once it is permissible to do so.

Additionally, Movants intend to file a Motion for Leave to Participate as Interested Parties, if
required by the Court, under Rute 24{a) of the Federal Rules of Civil Procedure, as we have a
direct, substantial, and legally protectable interest in these proceedings. The Trustee’s actions
have personally impacted us by interfering with our constitutional rights, financial interests, and
ability to pursue independent claims. This intervention is necessary to protect Movants’ personal
legal interests, which are separate from the third-party entities for which Movants are seeking and
intending to hire counsel for per Florida Local Rule 1074-1. Movants’ personal rights as
beneficiaries cannot be ignored or dismissed under procedural technicalities.

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il, SELECTIVE ENFORCEMENT & SUPPRESSION OF EXCULPATORY EVIDENCE

14. The Trustee deliberately withheld material evidence, including but not limited to:

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e  &vidence establishing Movants’ legal standing as beneficiaries of the estate, not merely as

, “owners and principals” as falsely represented by the Trustee in court filings. (Paragraph 17 of
| TRUSTEE’S MOTION TO ENFORCE AUTOMATIC STAY.) This omission was a calculated attempt to
‘strip Movants of their personal legal rights and limit their participation in these proceedings.

| Correspondence proving the Trustee had full knowledge of Movants’ independent claims yet
improperly sought stays to obstruct them. The Trustee was fully aware that Movants were
asserting personal claims against Warren Law Group, Joshua Wearmouth, Velanos, Resydency,
and others, yet still took legal action ta delay and suppress these valid claims.

Through the proper lens, it becomes evident that although Movants are not representing the
Insider Companies in this capacity, the Trustee’s actions reflect a bad faith, retaliatory, and
abusive pattern. The actions include but are not limited to:

o The Trustee concealed evidence in the Adversary Complaint and is still concealing
evidence proving that the alleged “fraudulent transfer” of $1.1 million was actually
executed by Chase Bank, and not Movants. This was the Trustee’s basis to bring the

Adversary Complaint in the Trustee’s Response, but was conveniently omitted from their

Adversary Complaint after Exhibit Lin Movant’s REPLY TO TRUSTEE’S RESPONSE TO

COMBINED MOTION FOR SANCTIONS AND PROTECTIVE ORDER AGAINST CHAPTER 7

TRUSTEE FOR RETALIATORY CONDUCT, ABUSE OF PROCESS, AND BREACH OF

FIDUCIARY DUTY, hereinafter referred to as “Reply”, was presented.

o The Chase Bank records prove that the alleged fraudulent transfer of $1.1 mitlion was
executed by Chase Bank itself, a third-party, not by Movants or Movants’ personal
assets. The Trustee knowingly omitted these records despite their direct impact on the
allegations against Movants’ personal assets to further injure the Movants personally.

© Additionally, the Trustee misrepresented the qualifications and legal experience of
Movants’ former attorney, Nicolas Spigner, to justify procedural barriers against

i Movants. (Exhibits M & N of Movant's Reply.)

The Trustee’s deliberate withholding of this material evidence is a clear violation of Florida Rules of

Professional Conduct, Rule 4-3.3, which prohibits attorneys from knowingly omitting material

facts to mislead the Court. The suppression of materjal facts obstructed Movants’ assets’ ability to

present a full and fair defense while allowing the Trustee to manipulate legal procedures for his
benefit.

Furthermore, by suppressing key exculpatory evidence, the Trustee engaged in obstruction of
justice, as defined in Brady v. Maryland, 373 U.S. 83 (1963), which mandates the disclosure of
exculpatory evidence to prevent the miscarriage of justice. This suppression of material evidence has
directly prejudiced Movants’ personal assets, forcing them to expend substantial resources
refuting claims that are based on misrepresentations and selective omissions.

The Trustee intentionally omitted all exhibits submitted with Movants’ complaint against
Joshua Wearmouth, Velanos, Resydency, and Nordic Trust Atlance KB, which contained
exculpatory and critical evidence proving contractual breaches, and misrepresentation. This
omission is not a clerical error but a deliberate effort to mistead the Court and suppress material
facts that support Movants’ claims and defenses. (Exhibit B of Brief.)
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If the Trustee’s actions were legitimate, they would not have engaged in an immediate campaign of
retaliatory legal threats against Movants. Yet, the direct sequence of events demonstrates a clear
pattern of coercion:

January 22, 2025 —- Movants exercised constitutional rights by pursuing personal claims. (Exhibit A
of this mation}

January 22, 2025 (roughly two hours later - Exhibit B of this motion) - A cease and desist demand
email was sent to Movants personally.

January 24, 2025 — After good faith discussions via email, Trustee issued personal threats of
sanctions if Movants continued pursuing their claims.

Within 30 minutes (Exhibit C of this motion)- Trustee issued multiple back-to-back demand
letters starting with a personal demand letter, following with 5 demand letters targeting Movants,
again, within a 30 minute timeframe.

February 2025 — Trustee maniputated procedural filings to suppress personal claims while
misrepresenting Movants’ legal standing and framing to their actions as a “coincidence.” i.e. Request
for an Evidentiary Hearings (Doc. 276), Motions to Strike (Doc. 282 and “Doc 5 Filed 02/19/25”),
Motion to Impose Automatic Stays (Dac. 296)

if the Trustee’s goal was proper estate administration, they would not have needed to immediately
suppress personal claims with a coordinated legal attack. Instead, these actions prove that the
Trustee’s intent was to coerce Movants into abandoning their rights through procedural abuse. See
Miami Herald Publishing Co. v. Ferre, 636 F. Supp. 970 (S.D. Fla. 1985) (holding that retaliatory legal
tactics constitute abuse of process).

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| I. THE TRUSTEE’S FALSE STATEMENTS & BAD FAITH LITIGATION

The Trustee falsely claimed that Movants’ attorney, Nicolas Spigner, tacked experience in legal
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matpractice cases and was unsuitable because he was based in Texas. This false statement was

made despite clear evidence in the record proving otherwise.

In reality, aforementioned Exhibit M & N of the Reply (Fee Agreement & Testimony of Nicolas
Spignen), confirms where he is licensed to practice, his experience, and his success on behalf of
clients.
: ‘He is licensed to practice in New York.
*' Hehas legal malpractice experience.
*' He has a proven track record of successfully suing attorneys on behalf of clients, directly
contradicting the Trustee's assertion that he was inexperienced.
e Hewas economically sound, charging a contingency-based fee and $200 per hour, making him

' the most reasonable and cost-effective option for the estate.

*

The Trustee’s talse representation constitutes perjury under Florida Statutes § 837.02 and Title 18,
U.S.C. § 1621, which criminalize making false statements in official proceedings. United States v.
Dunnigan, 507 U.S. 87 (1993) establishes that knowingly making false statements to mislead the
court is a serious legal violation and grounds for sanctions.

Moreover, the Trustee’s actions were not an innocent mistake but a deliberate and calculated
effort to mislead the Court. Their false representations about Movants’ attorney were designed to
block Movants’ access to fair representation and further suppress their ability to chattenge the
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Trustee’s improper conduct. This constitutes a clear abuse of process and a violation of Movants’

constitutional rights to due process and access to the courts.
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24. Even though Movants have not been personally sued, despite the Trustee’s legal actions making it
clear that the Trustee treating them as adversaries through procedural tactics rather than direct
litigation. This is not a case where Movants have been left untouched by litigation—the Trustee has
manufactured a situation where Movants are burdened with legal expenses, forced to defend
their personal rights/assets, and prevented from pursuing their claims through improper stays
and procedural suppression.

25. Moreover, the timing of the retaliatory demand letters—issued just two days after Movants
exercised their constitutional rights—proves that the Trustee’s bad-faith litigation tactics are
designed to have the same effect as direct litigation, without formally naming Movants as
defendants. Courts have consistently recognized that abuse of legal process does not require direct
litigation but can arise through misuse of procedural mechanisms to suppress an opposing
party's legal rights. See Miami Heratd Publishing Company v., Ferre, 636 F. Supp. 970 (S.D. Fla.
1985) (holding that misuse of Legal process for intimidation or delay constitutes abuse of
process, regardless of whether an actual lawsuit has been filed against the victim).

26. A Trustee's duty is not to favor certain creditors or procedural tactics, but to ensure that alt
claims—whether estate or personal—are treated fairly under the law. Courts have repeatedly
held that fiduciaries cannot manipulate the legal process to suppress independent claims. See
Christensen v. Jubber (in re Christensen), 106 F.3d 403 (10th Cir. 1997) (holding that trustees owe
fiduciary duties to all stakeholders, including individual beneficiaries). The Trustee’s obligation
is to administer the estate impartially, not weaponize litigation to obstruct personal claims

through procedural tactics and selective enforcement.
|

27, Movants’ complaints explicitly state that they are pursuing their personal claims, separate from
any corporate or estate claims. (Exhibit A and B of Brief} The Trustee’s continued assertion that
these claims belong ta the estate demanstrates either a failure to praperly review/read the
complaints or a deliberate attempt to mislead the Court by mischaracterizing Movants’ legal position.

28. [f the Trustee truly believed that Movants had no valid personal claims, they would not have
resorted to immediate legal threats and procedural suppression tactics.

es ifthe Trustee was acting in good faith, they would not have needed to threaten sanctions
against individuals for pursuing independent claims.
e | ifthe Trustee’s actions were legitimate, they would have allowed Movants’ claims to proceed on
' their merits rather than resorting to intimidation.
e | Ifthe Trustee genuinely believed that the automatic stay applied to Movants’ personal claims,
. they would have sought to stay those claims at the outset of the bankruptcy proceedings, rather
than waiting until Movants exposed the inconsistency.

The Trustee’s demand letter explicitly stated:

“If you continue to pursue claims that belong to the bankruptcy estate against Warren Law
' Group or Scott Oh, the Trustee will file a motion for sanctions against you with the Bankruptcy
Court. Please govern yourself accordingly.”

|
Why did the Trustee follow this with a coordinated wave of demand letters issued within a

| one half-hour period, all Strategically timed to obstruct Movants’ ability to continue their
| personal litigation?
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Why did the Trustee issue immediate threats of sanctions imminently after Movants exercised
thelr constitutional rights?
Why did the Trustee only seek an automatic stay against personal claims against Scarinci
Hollenbeck, Warren Law Group and Scott Oh after Movants pointed out that no stay had been
tiled in those matters?
The pattern is clear: If Movants had remained silent, no automatic stay would have been
' pursued. If Movants had backed down, no sanctions would have been threatened.
| However, since Movants asserted their legal rights, the Trustee engaged in retaliatory legal
| Maneuvering against Movants’ personally.
« Thus, the sequence of events proves deliberate coercion. If this were simply about protecting
estate assets, the Trustee would have pursued the same legal arguments without the need to
| lead with immediate personal threats, misrepresentations, and procedural suppression.

| IV. DAMAGES & REQUESTED SANCTIONS

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29. Movants have incurred significant damages as a direct result of the Trustee’s bad-faith litigation
tactics, including but not limited to:

| - Increased personal financial losses from to be paid attorney fees paid out-of-pocket after

| being forced to retain legal counsel to counteract the Trustee’s improper actions.

| - Lost time and resources spent addressing fraudulent claims and retatiatory motions instead
' of focusing on business operations and financial stability.

i - Damage to Movants’ ability to conduct business, as the Trustee’s deliberate suppression of
personal claims and manipulation of court proceedings have hindered their personal financial

| interests.

'- Lost time from friends and family due to the Trustee’s bad faith tegal tactics.
|
30. Movants respectfully request that the Court impose sanctions in the amount of $1,000,000 against

the Trustee Aaron R. Cohen, Akerman LLP, and Raye Curry Elliott for:

| - Bad-faith litigation, including the misuse of legai procedures to retaliate against Movants
' personally.
- Retaliation and abuse of process, as evidenced by the pattern of coercion and legal threats
against Movants personally.
- Suppression of exculpatory evidence and obstruction of justice, violating both Brady v.
| Maryland, 373 U.S. 83 (1963) and Florida Rules of Professional Conduct, Rute 4-3.3.
- Breach of fiduciary duty and selective enforcement of bankruptcy laws, demonstrated by the
Trustee’s refusal to act impartially.
| - Movants are personally forced to pay out-of-pocket legal fees after being coerced into hiring
_ attorneys due to the Trustee’s selective enforcement and misrepresentations. This financial
' burden is a direct consequence of the Trustee’s bad faith litigation and procedural abuse.
| - This amount has increased from the previous request as the Trustee has needlessly
! multiplied proceedings rather than acting in good faith towards a resolution.

|
31. Again, when taking a look through the proper tens, the only way the Trustee can support this case is
by continuing to suppress exculpatory evidence already submitted to the Court. The Court
cannot allow this pattern of misconduct to continue. The following key exhibits prove Movants’ good
faith and the Trustee's intentional suppression of material facts orchestrated to harm the
Movants:
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. Exhibit 1 of Movant's Originat Motion. (Adam Walker’s Declaration) establishes a track record
| Of Good Faith and Solvency, which the Trustee deliberately ignored.

e: Exhibit J of Movant’s Original Motion. (Examiner Report} found no fraud, no intent to defraud,
_ and no evidence of insolvency, directly refuting the Trustee’s claims.

e The $15 million Velanos Settlement Agreement, executed before the Trustee’s appointment,
_ was accepted by the Trustee himself, further proving Movants’ commitment to maximizing
| recovery for creditors. (Exhibit 1 in Doc. 107 of this matter.)

. : Furthermore, the Settlement Agreement with Velanos is conclusive evidence that Movants
. futtilled their contractual obligations under Section 13.7 of the BELOC Agreement (Exhibit 0 of
, the Reply.)

« The business plans submitted in the Adversary Complaint directly contradict the Trustee's
claim that there was no reasonably equivalent value in these transactions.

Yet, despite the clear record, the Trustee refuses to acknowledge these facts because they
undermine their false narrative further injuring Movants personally.

The Trustee’s refusal to acknowledge this evidence is further proof of his selective enforcement
and bad-faith litigation against Movants personally.

The Trustee’s improper legal tactics is forcing Movants to expend significant personal resources
to defend their personal assets against de facto litigation, even though they have not been formally
named in a lawsuit. This is a clear abuse of process. The Court's initial concern about a lack of a
personal lawsuit does not change the fact that Movants were targeted, harassed, and financially
burdened by the Trustee’s legal tactics ina way that had the same impact as direct litigation.

« Movants are being forced to retain legal counsel at their own expense, redirect time and

_ anergy away from their business interests and personal lives that can’t be replaced, and

' respond to 2 strategically filed Adversary Compiaint that the Trustee pursued in bad faith.
Courts have routinely sanctioned attorneys and trustees for engaging in bad-faith litigation that
results in financial harm to opposing parties, regardless of whether they were formally sued. See
Schwartz v. Kujawa, 530 F.2d 982 (7th Cir. 1976) (holding that fiduciaries engaging in bad faith or
' procedural manipulation can be held personally liable for damages resulting from their
. misconduct).

e | The Trustee’s litigation strategy has caused direct financial harm to Movants by muttiplying
proceedings, and for this reason, the requested $1,000,000 in sanctions is necessary not only
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to compensate Movants for their Legal expenses and damages but also to deter future

abuses of process by the Trustee against the Movants and others.

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The Trustee is recycling arguments previously made by the United States Trustee, which have already
been defeated twice. This demonstrates a continued pattern of bad-faith litigation and an attempt to
relitigate issues that have already been resotved against their personal assets.

Movants request immediate sanctions against the Trustee for their deliberate efforts to suppress
material facts, obstruct justice, and retaliate against Movants for exercising their personal legal
rights.
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The Trustee’s pattern of misconduct, including perjury, suppression of exculpatory evidence, and abuse
of process, warrants immediate Court intervention. Courts have repeatedly ruled that a Trustee is not
immune when their misconduct includes bad faith litigation, retaliation, or obstruction of justice, as
established in:

“Schwartz v. Kujawa, 530 F.2d 982 (7th Cir. 1976) (holding that fiduciaries who engage in bad faith or
improper litigation tactics can be held personally liable).

-inre Gorski, 766 F.2d 723 (2d Cir. 1985) (reaffirming that Trustees abusing their authority are subject to
court-imposed sanctions and damages).

The Trustee’s actions constitute 2 pattern of coercion and procedural abuse, which courts have routinely
recognized as sanctionable misconduct. See Schwartz v. Kujawa, 530 F.2d 982 (7th Cir. 1976) (holding that
bad-faith procedural tactics warrant personal Uiability), and in re Gorski, 766 F.2d 723 (2d Cir. 1985)
(finding that trustees who suppress claims through misrepresentation can be sanctioned).

Movants understand that it’s the Court’s discretion to determine the sanction amount and urges this Court
to impose significant monetary and procedural sanctions to prevent further misconduct and uphold the
integrity of the judicial process. The record is clear, and any further delay would only serve to
undermine justice. We respectfully request that the Court grant the requested relief.

V. PRAYER FOR RELIEF

WHEREFORE, Movants respectfutly request that this Court:
|

- Grant this Motion for Sanctions against Trustee Aaron R. Cohen, Akerman LLP, and Raye Curry
Elliott.
- Movants request $1,000,000 in sanctions, allocated as follows:

>$500,000 for retaliation and abuse of process, including the deliberate issuance of multiple
retaliatory demand letters with personal threats of sanctions te suppress personal claims.

> $500,000 for bad faith litigation i.e. suppression of exculpatory evidence, including but not
limited to, omitted bank records, suppression of information without a protective order and
misrepresentations regarding Movants’ legal standing as beneficiaries further injuring Movants
personally .
- Acknowledge the Trustee’s improper selective enforcement of stays and Adversary
proceeding.
- Hold the Trustee accountable for unnecessarily muitiptying proceedings, suppressing
exculpatory evidence, violating ethicat obligations and infringement of Movants’ personal
constitutional claims/rights.
- Refer Aaron Cohen’s and Raye Etliot’s misconduct for investigation.
- Grant any further relief that the Court deems just and proper.

Dated: March 3, 20

John Micha Pro Se
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 11 of 42

| List of Exhibits —- Supporting Personal Harm Claims
Exhibit A-— Warren Law Group Pursuit Email (1:05 PM, 1-22-25)

Confirms Movants’ intent to pursue personal claims against Warren Law Group, demonstrating
independent legal action prior to the Trustee’s retaliatory response.

Exhibit B - Cease and Desist (3:12 PM, 1-22-25)

Directly threatens Movants with sanctions if they continue to pursue personal claims, establishing
the Trustee’s coercion and bad-faith suppression of legai rights.

Exhibit C - Timing of Demand Letters

Demonstrates the coordinated, retaliatory issuance of demand tetters within a short timeframe,
tatgeting Movants personally and their business entities immediately after they exercised their legal
rights.

_ Personal Demand Letter (10:07 AM, 1-24-25) — Shows direct targeting of Movants personally.

' ZOOMERAL Demand Letter (10:20 AM, 1-24-25) - Coerces Movants by attacking their business
interests.

. Capitulum Demand Letter (10:21 AM, 1-24-25) - Further pressures Movants through their
businesses.

Genie Investments II Demand Letter (10:22 AM, 1-24-25) -Demonstrates the Trustee’s sweeping
retaliation tactics.

Better Methods Demand Letter (10:23 AM, 1-24-25) — Expands the pressure campaign to all
entities linked to Movants.

, Genie's Angels Demand Letter (10:23 AM, 1-24-25) — Final demand in the series, proving intent to
overwhelm and suppress Movants’ legal efforts.

Exhibit D— Affidavit of John Michael Cohan and David Hughes

Sworn testimony detailing the timetine of events, personal harm suffered, and the Trustee’s direct
actions to suppress Movants’ legal rights through bad-faith litigation, retaliation, and coercion.
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EXHIBIT A
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Dear Mr. Warren,

We are writing in connection with the merger between Warren Law Group and Scarinci
Hollenbeck, which we understand was structured as a forward merger, where Warren Law
Group has been fully absorbed into Scarinci Hollenbeck.

In light of this merger, it is our understanding that Scarinci Hollenbeck has assured all assets,
obligations, and liabilities of Warren Law Group, including matters arising prior to the merger.
With this understanding, we are reaching out to address significant concerns related to
potential malpractice, fraud, extortion, and reputational damage stemming from actions
involving Warren Law Group and Scott Oh (SO}.

To ensure proper handling of these matters, we are forwarding the demand and preservation
letters that were previously addressed to Warren Law Group. We ask for your confirmation
that Scarinci Hollenbeck, as the successor entity, will assume responsibility for these issues
and. respond accordingly.

Specifically, we seek your acknowledgment of the following:

1. Malpractice and Misconduct:
Any potential malpractice, fraudulent actions, or extortion that occurred prior to the
merger, involving attorneys from Warren Law Group, specifically Scott Oh (SO), would
now fall under Scarinci Hollenbeck’s liability.

2, Reputational Damage:

i The reputational harm caused to us as a result of these issues is a significant concern,
and we trust that Scarinci Hollenbeck will take steps to address these claims
appropriately.

Piease confirm receipt of this message and the forwarded documents, and let us know the
appropriate point of contact at Scarinci Hollenbeck to facilitate further communication on
these matters. If we do not receive the appropriate contact at Scarinci Hollenbeck to facilitate
further communication by Friday 01/24/2025 Spm EST, we will escalate the matter
accordingly.

We appreciate your attention to this matter and look forward to your response.
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Sincerely,

John Michael Cohan
Genie Investments, Director

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acting solely as Consultants, Genie does not accept any liability on behalf of Sellers or Buyers
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the course of wisdom and perform full verification & due diligence on their own before going
into any opportunity.

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meant for informational and educational purposes only and does not provide investment
advice.

From: John from Genie Investments

Sent: Tuesday, January 21, 2025 2:38 PM

To: ‘Scott Oh' <scott@warren.law>

Ce: David from Genie Investments <dhughes@genieinvestments.com>
Subject: DEMAND AND PRESERVATION OF EVIDENCE LETTERS

Warren Law Group and Scott Oh,

Please see the attached correspondence.
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 15 of 42

Please respond to this email within 14 days.
Thank you.

Sincerely,

John Michael Cohan
Genie Investments, Director

| GENTE

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EXHIBIT B
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 17 of 42

From: raye.clliott@akerman.com
To: | John from Genie Investments; David from Genie Investments
ca | bkmickler@plantaw.com

Mr. Cohan and Mr. Hughes,

The attorney for Warren Law Group forwarded the attached letter to me that you sent to the firm
asserting a claim for legal malpractice. Any claim for legal malpractice for the firm’s representation
of Genie Investments NV, Inc. belongs to the bankruptcy estate and can only be asserted by the
Trustee, Accordingly, please immediately cease and desist with any communications or demands to
the Warren Law Group or Scott Oh. Thank you.

Raye: Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602

D: 813 209 5013 | T: 813 223 7333| Ff: 813 223 2837

Jacksonville: Akerman LLP [ 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
T: 904 798 3700 | F:904 798 3730

raye.ellioftt@akerman.com

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|
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Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 18 of 42

EXHIBIT C
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 19 of 42

From: Fave. elliott@akerman.com
To: John from Genie Investments; David from Genie Investments
Cc: bkmickler@planlaw.com
Subject RE: In re Genie Investments, NV, Inc.
Date: Friday, January 24, 2025 10:01:15 aM
Attachments: imane001.pna —
1.24.25 letter to Hughes and Cohan.pdf

Please see attached letter.

Raye Elliott .

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tarnpa, FL 33602

D: 813 209 5013 | T: 813 223 7333) F: 813 223 2837

Jacksonville: Akerman LLP | 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
T: 904 798 3700 | F: 904 798 3730

raye.elliott@akerman.com

From: John from Genie Investments <jmcohan@genieinvestments.com>

Sent: Thursday, January 23, 2025 11:20 AM

To: Elliott, Raye (Ptnr-Tpa) <raye.elliott@akerman.com>; David from Genie Investments
<dhughes@genieinvestments.com>

Ce: bkmickler@planlaw.com

Subject: RE: In re Genie Investments, NV, Inc.

i ey

i[External to Akerman]

Ms. Elliott,

We want to reassert that we are fully committed to cooperating with the Court and the Trustee
to the fullest extent throughout this process. We also thank you for your assistance and
attention to these matters, as we share the goal of ensuring the bankruptcy estate is handled
fairly and equitably.

In response to your concerns regarding our personal claims against the Warren Law Group and
Scott Gh, we would like to provide further clarification:

1. Basis for Personal Claims

While the Warren Law Group was retained to represent Genie Investments NV, Inc., our
personal claims are rooted in harm that is separate and distinct from the bankruptcy
estate. Specifically, the examiner’s report acknowledged reputationat harm that directly
impacted us as individuals. This harm is unrelated to the corporate malpractice claims
belonging to the estate.

2. Relevant Legal Precedent
The following case law supports our position that we are entitled to pursue personal claims:
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 20 of 42

In re learus Holding, LLC, 391 F.3d 1315 (11th Cir. 2004): This case establishes a
distinction between claims belonging to the bankruptcy estate and personal claims of
stakeholders, affirming that individuals retain the right to pursue personal harm that is
distinct from the corporate entity.

Caplin v. Marine Midland Grace Trust Co., 406 U.S. 416 (1972): The Court ruled that a
trustee cannot bring claims on behalf of individuals and cannot prevent individuals from
pursuing their own distinct claims.

Logan v. Zimmerman Brush Co., 455 U.S. 422 (1982): This case reaffirms the
constitutional right to due process, which guarantees individuals access to the courts to
seek remedies for personal harm.

In re Colonial Realty Co., 980 F.2d 125 (2d Cir. 1992): Trustees must act within the
limits of their authority and cannot interfere with claims that are not part of the estate.

3. Response to Potential Impact on the Bankruptcy Estate
We acknowledge your concern that pursuing our claims could impact the malpractice
insurance poticy available to the bankruptcy estate. However, it is important to emphasize:

Distinct Nature of Claims: Our claims for reputational harm are independent of the
estate’s claims for corporate malpractice. The trustee does not have standing to pursue
damages for personal reputational harm, as such claims do not belong to the estate.
Rights to Personal Redress: Denying us the ability to pursue personal claims would
violate established legal principles, including our constitutional right to access the
courts.

Allocation of Insurance Proceeds: The allocation of insurance funds does not override
our right to seek personal redress. Courts have recognized that insurance proceeds are
subject to competing claims, and our claims do not diminish the trustee’s authority to
pursue corporate malpractice claims on behalf of the estate.

Certain Considerations Favor Individuals: Courts have recognized that certain
considerations may indirectly favor individuals, particularly in cases involving
personal harm or unique vulnerabilities. For example:

e In Logan v. Zimmerman Brush Co., 455 U.S. 422 (1982), the Court underscored
the importance of access to the courts as a fundamental right, especially in cases
where personal harm, such as reputational damage, affects the ability of
individuals to provide for themselves and their families.

° Inre Icarus Holding, LLC also emphasized that harm to individuals that arises
from reputational or professional damage is distinct from corporate harm and
must be treated separately. These legai principles affirm that individuals have the
right to seek remedies for their unique circumstances, even in cases involving a
bankruptcy estate.

Conclusion
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We remain committed to working collaboratively with the Trustee and the Court. At the same
time, we must protect our individual rights to pursue remedies for personal harm that is not
part of the bankruptcy estate. We respectfully assert that our claims are both legally valid and
distinct, and we trust that they can coexist without adversely impacting the estate.

Thank you again for your assistance, and we are available to discuss this matter further to
ensure clarity and alignment.

Sincerely,

John Michael Cohan
vestments, Director

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meant for informational and educational purposes only and does not provide investment
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From: raye.elliott@akerman.com <caye.elliott@akerman.com>
Sent: Wednesday, January 22, 2025 6:48 PM
To: John from Genie Investments <jmcohan@genieinvestments,com>; David fram Genie
Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25 Page 22 of 42

Investments <dhughes @genieinvestments.com>
Ce: bkmickler@planiaw.com

Subject: RE: In re Genie Investments, NV, Inc.
Mr. Cohan,

Thank you for email. | agree that any personal claims or causes of action that you and Mr. Hughes
hold are not impacted by the Genie bankruptcy case. In fact, yesterday and today | have received
emails from a few of the Debtors’ creditors with copies of demand letters that you have sent them in
your personal capacity and | have told each of them that the bankruptcy case does not impact any
individual claims you may or may not hold against them.

| don’t know what your jegal counsel told you, but | don’t see how you have a personal cause of
action against the Warren Law Group and Scott Oh, since they were retained to represent Genie
Investments and not you personaily. My concern is that if you try to pursue a personal claim against
the Warren Law Group, even if unsuccessful, the firm will look to its malpractice insurance policy to
pay defense costs which will eat into the insurance policy limits that would otherwise be available to
the bankruptcy estate when the Trustee pursues the maipractice claim on behalf of Genie. In that
way, | am afraid that your attempting to pursue a personal claim against the Warren Law Group
would adversely impact the bankruptcy estate.

Raye Elfiott
Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602
D: 813 209 5013 | T: 813 223 7333| F: 813 223 2837
Jacksonville: Akerman LLP | SO North Laura Street, Suite 3100 | Jacksonville, FL 32202
F: 904798 3700 | F: 904 798 3730
tli fC

From: John from Genie Investments <jmcohan@ genieinvestments.com>

Sent: Wednesday, January 22, 2025 5:05 PM

To: Elliott, Raye (Ptnr-Tpa) <raye.elliott@akerman.com>; David from Genie investments
<dhughes@genjeinvestments.com>

Ce: bkmickler@ planlaw.com

Subject: RE: In re Genie Investments, NY, Inc.

| [External to Akerman]|

Ms. Elliot,
We hope this message finds you well. We are writing to clarify our intent regarding the claims
we are pursuing and to ensure that we remain cooperative and aligned with the trustee’s

responsibilities while also protecting our individual rights.

First, we want to reaffirm that we fully respect the trustee’s authority and role in managing the
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claims and interests of the bankruptcy estate of Genie Investments NV, Inc. We are not
attempting to overstep this authority or infringe upen any claims that rightly belong to the
estate. Our focus is strictly on pursuing claims for the personal harm we have suffered, which
are separate and distinct from the estate’s matpractice claims.

AS noted in the examiner’s report, we have endured significant harm to our personal
reputations. Additionally, we previously sought the trustee’s assistance in addressing
damaging social media posts by [Stringer], which further exacerbated this harm. These actions
have caused personal damages—diminished credibility, loss of professional opportunities,
and.emotional distress—that are independent of the company’s operations and bankruptcy
estate.

After consulting with our tegal counsel, we have been advised that pursuing these personal
claims is appropriate and does not conflict with the trustee’s exclusive authority over the
estate. Our counsel has assured us that the harm we are addressing is uniquely personal and
unrelated to the corporate claims. While we remain fully cooperative and respectful of the
trustee’s mandate, we also have a responsibility to protect ourselves and seek remedy for the
harm we have individually suffered.

We deeply value the trustee’s role and are committed to ensuring that our actions do not
interfere with the bankruptcy proceedings. However, we respectfully request clarification on
how pursuing these personal claims could be viewed as conflicting with the estate’s rights,
particularly given the examiner’s findings about our reputational harm and the direct personal
impact we have experienced.

Ourjintention is to work collaboratively with the trustee while safeguarding our individual rights
and ensuring we can address the unique damages we have suffered. We would greatly
appreciate your guidance and understanding as we navigate this matter.

Thank you for your time and attention. Please let us know if further clarification or
documentation would be helpful.

Citations: In re Icarus Holding, LLC, 391 F.3d 1315 (11th Cir. 2004), Caplin v. Marine Midland
Grace Trust Co., 406 U.S. 416 (1972), In re Colonial Realty Co., 980 F.2d 125 (2d Cir. 1992)

Sincerely,

John Michael Cohan
Genie Investments, Director

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advice.

From: raye.elliott@akerman.com <raye.elliott@akerman,com>

Sent: Wednesday, January 22, 2025 3:12 PM

To: John from Genie Investments <jmcohan@genieinvestments.com>; David from Genie
Investments <dhughes@genieinvestments.com>

Ce: bkmickier@planlaw.com

Subject: In re Genie Investments, NV, Inc.
Mr. Cohan and Mr. Hughes,

The attorney for Warren Law Group forwarded the attached letter to me that you sent to the firm
asserting a claim for legal malpractice. Any claim for legal malpractice for the firm’s representation
of Genie Investments NV, Inc, belongs te the bankruptcy estate and can only be asserted by the
Trustee. Accordingly, please immediately cease and desist with any communications or demands to
the Warren Law Group or Scott Oh. Thank you.

Raye Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, Fl 33602

D: 813 209 5013 | T: 813 223 7333] F: $13 223 2837

Jacksonville: Akerman LLP | SQ North Laura Street, Suite 3100 [ Jacksonville, FL 32202
T: 904 798 3700 | F:904 798 3730

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From: rayaellioth@akerman.com
To: John from Genie Investments; David from Genie Investments

Please see the attached letter.

Raye Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602

D: 813 209 5013 | T: 813 223 7333| F: 813 223 2837

Jacksonville: Akerman LLP | 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
T: 904 798 3700 | F: 904 798 3730

raye.elliott@akerman.com

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From: raye. elliott @akerman.com
To: John from Genie Investments
Subject: Capitulum, LLC

Date: Friday, Januar

Please see attached letter.

Raye Eliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602

D: 813 209 5013 | T: 813 223 7333] F: 813 223 2837

Jacksonville: Akerman LLP | 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
T: 904 798 3700 { F: 904 798 3730

raye.ellio kerman.co
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From: ray. elliott @akerman.com
To: | John from Genie Investments; David from Genie Investments
Subject: Genie Investments I, LLC

Please see attached letter.

Raye Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602

D: 813 209 5013 | T: 813 223 7333] F: 813 223 2837

Jacksonville: Akerman LLP ] 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
T: 904 798 3700 [ F: 904 798 3730

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Please see attached letter.

Raye Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602

D: 813 209 5013 | T: 813 223 7333[ F: 813 223 2837

Jacksonvitle: Akerman LLP | 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202
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raye.elliott@akerman.com

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Case 3:24-bk-00496-BAJ Doc 322 Filed 03/04/25

raye.elliott@akerman,. com
John from Genie Investments; David from Genie Investments
Genie"s Angels, LLC

Friday, January 24, 2025 10:23:52 AM

1.24.25 letter to Genie"s Angels.p¢gf

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Please see attached letter.

Raye Elliott

Tampa: Akerman LLP | 401 East Jackson Street, Suite 1700 | Tampa, FL 33602
D: 813 209 5013 | T: 813 223 7333] F: 813 223 2837

Jacksonville: Akerman LLP | 50 North Laura Street, Suite 3100 | Jacksonville, FL 32202

T: 904 798 3700 | F: 904 798 3730

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EXHIBIT D
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AFFIDAVIT OF JOHN MICHAEL COHAN AND DAVID HUGHES
IN SUPPORT OF MOTION FOR SANCTIONS

STATE OF FLORIDA
COUNTY OF DUVAL

|
We, John Michael Cohan and David Hughes, being of sound mind and over the age of eighteen, swear under
penalty of perjury that the following is true and correct based on our personal knowledge, belief, and direct
experience with the matters stated herein.

1. INTRODUCTION

We submit this affidavit in support of our personal Motion for Sanctions against Trustee Aaron R.
Cohen, Akerman LLP, and Raye Elliott for their deliberate misconduct, including bad-faith
litigation, abuse of process, retaliation, and untawful suppression of our personal claims.

The Trustee’s intentional acts of coercion and procedural abuse have inflicted severe financial
harm, emotional distress, reputational damage, and significant time loss, affecting our ability to
conduct business and exercise our constitutional rights.

10.

IL. TIMELINE OF RETALIATORY ACTIONS
|
On January 22, 2025, we submitted a proposed settlement agreement to Warren Law Group
regarding our personal claims for professionat negligence, reputational damage, and financial

harm caused by their legal malpractice.
|
Within two hours, the Trustee issued a cease-and-desist letter regarding our pursuit of our

individual constitutionally protected claims.

This demand was made in retaliation for exercising our legal rights and was designed to coerce us
into abandoning our valid personal claims.

The Trustee’s actions misrepresented our claims as estate property despite clear legal precedent
confirming our right to pursue individual damages separate from the bankruptcy estate.

On January 24, 2025, the Trustee escalated their retaliatory conduct by sending six separate
demand letters within a 30-minute window, a deliberate attempt ta overwhelm and intimidate us.

T he Trustee’s threat was immediate and direct retaliation against us for exercising our legal
rights to pursue damages for harm suffered personally, which has no connection to the

bankruptcy estate.

The Trustee further stated that our personal claims could reduce the estate’s recovery, implying
that they intended to use his position as a trustee to block us from recovering damages in order to

béuefit the estate at our expense.

We responded to the Trustee, asserting that our claims are personal in nature, based on harm to

us as individuals, and not subject to estate control.
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11. Despite making serious threats, the Trustee failed to follow through, demonstrating that their

12.

letter had no legal basis and was purely retaliatory, designed to intimidate us into surrendering
our constitutional rights.

These letters had no legal merit and were part of a coordinated effort to obstruct our access to
justice and force us into unnecessary legal defense.

10.

Hl. EMOTIONAL DISTRESS AND SIGNIFICANT TIME LOSS
The Trustee’s improper legal maneuvers have caused us severe emotional distress, anxiety, and
financial hardship, including:

c Mental and emotional strain from being subjected to threats of legal sanctions.

o Constant fear and uncertainty about our ability to defend ourselves due to the Trustee's
abuse of power.

o Bisruption of our professional and personal lives, causing losing precious time with
family, exhaustion, sleepless nights, and severe stress.

o Damage to our ability to conduct business, as we have been forced to divert extensive
time and resources toward counteracting these retaliatory tactics.

As a result of these deliberate efforts to suppress our legal rights, we have suffered
immeasurable loss of time, including:

As of 3-3-2025, over 200 hours has been spent between us responding to baseless legal filings,
demand letters, and procedural roadbtocks. (attached as Exhibit 1)

I
Time away from our businesses, families, and personal obligations, leading to financial
setbacks and professional instability.

Lost opportunities to engage in income-generating activities due to our forced focus on legal
defense.

11.

12.

13.

iv. REPUTATIONAL DAMAGE & FINANCIAL LOSS

The trustee has falsely accused our personal assets of fraud and fraudulent transfers in open court
proceedings, which are public record and available online. These statements have further
damaged our reputations, credibility, and ability to conduct business.

\

As a direct result of these false statements, we received an email from creditors (attached as
Exhibit 2) addressed to us personally stating they were prepared to take action against us personally
due to the trustee’s accusations.

These public misrepresentations have caused:

irreparable harm to our professional reputations, as potential business associates and clients
have become unwilling to work with us.
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* ‘Increased financial distress, as creditors are using the trustee’s false allegations as a basis to
‘escalate claims against us.
|

.- Severe emotional distress, knowing that our personal assets and names have been publicly linked
to fraudulent activity without evidence or due process.

14. The trustee’s reckless and defamatory statements were intended to cause us harm, as
demonstrated by their immediate and tangible impact on our financial standing.

15. ‘Our personal reputations are separate from any business entity and are constitutionally
protected under the law

16. The Trustee, as a court-appointed fiduciary, has no authority to interfere with or obstruct our
ipersonal claims, yet they chose to do so to intimidate, coerce, and retaliate against us.

t

V. BREACH OF FIDUCIARY DUTY AND ABUSE OF PROCESS
13. The Trustee’s conduct constitutes a gross violation of fiduciary duties, including:
* Misrepresenting the nature of our claims to the Court and opposing parties.

e Suppressing material exculpatory evidence, inctuding financial records that disprove their
allegations.

e Engaging in selective enforcement, weaponizing procedural rules to silence and intimidate us
white failing to hold others accountable.

4

14. The Trustee knowingly acted in bad faith, as demonstrated by:
. Failing to provide any merit-able legal authority justifying their interference in our personal claims.
e Refusing to correct false statements made to the Court regarding our legal standing.

e Orchestrating a retatiatory legal strategy designed solely to continuously burden us with legal
expenses and procedural hurdles.

15. The Trustee’s actions constitute abuse of process and bad faith litigation because they misused his
position to retaliate against individuals exercising their rights.

16. Their actions violate our due process rights by attempting to obstruct our ability to seek personal
redress in a court of iaw.

17, The Trustee's fiduciary duty is to the estate, not to suppress legitimate third-party claims for the
benefit of the estate. Their interference breaches their duty as a Trustee under federal bankruptcy law.

F
18. The Trustee falsely suggested that our personal claims would take away from estate recoveries,
when in reality, if the insurance company combines estate and personal claims into a single payout,
we have a legal right to our portion of any settlement.

19. The Trustee’s faiiure to ensure that the Warren Law Group’s liability insurance treats estate
claims and personal claims separately further demonstrates his bad faith intent.

20.

21.

22,

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VI. REQUEST FOR SANCTIONS

We formally request that the Court impose severe monetary sanctions against the Trustee,
Akerman LLP, and Raye Eltiott in the amount of $1,000,000, to reflect:

‘The financial losses we have suffered due to their retaliatory actions.

The emotional and reputational harm caused by their suppression of our personal claims.

The need to deter future misconduct (“bankruptcy hardball”) by court-appointed trustees who
abuse their power.

The Trustee’s actions were not a matter of legal oversight—they were intentional, retaliatory, and
designed to obstruct our access to justice.

We urge the Court to send a clear message that abuse of process and bad-faith litigation tactics
will not be tolerated in bankruptcy proceedings.

23.

24.

25.

VIL. CONCLUSION

The Trustee knowingly engaged in retaliation, coercion, and suppression of our constitutional
rights to seek redress for personal harm.

His bad-faith litigation tactics warrant significant judicial intervention and immediate sanctions to
prevent further injustice.

‘This Court has the authority to hold him accountable for these violations, and we respectfully

request the imposition of substantial sanctions to remedy the harm caused.

We swear in Goad Faith under penalty of perjury under the laws of the United States that the foregoing is
true and correct to the best of our knowledge and belief.

Executed on this 3rd day of March, 2025.

TH
David Hughes, Pro Se, Electronically Executed
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EXHIBIT 1
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Ch. 7 Trustee Litigation Timecard: Ch. 7 Trustee Litigation Timecard:
John Michael Cohan David Hughes

Date Hours Worked|

Date |[Hours Worked|

(2025-01-22]]1.4

(2025-01-23]]3.2

[2025-01-24]|2.7

2025-02-01]3.8

[2025-02-03]|4.9

2025-02-06]|2.3

2025-01-22]|1.2

J

|2025-01-23]|2.9

[2025-01-24])3.5

[2025-01-26}(6.1 [2025-01-26])2.1
[2025-01-29]|5.2 2025-01-29][5.3

[2025-02-01}/4.1

[2025-02-03|[3.4

[2025-02-06]|1.8

|

|
|2025-02-08||5.7 |2025-02-08|4.8 |
2025-02-11]]4.5 | 2025-02-11]|2.7 |
[2025-02-13][3.1 | [2025-02-13][3.3 |
[2025-02-16]|6.0 2025-02-16]/4.4 |
12025-02-19][3.4 | 2025-02-19|[2.9
[2025-02-22][5.0 (2025-02-22]|4.2 |
[2025-02-24|[6.0 | [2025-02-24l[6.0 |
[2025-02-25][1.8 | [2025-02-25]|1.9 |
2025-02-27]|4.8 [2025-02-27|[5.0 |
2025-03-01115.3 | 2025-03-011(3.0 |
[2025-03-03}/4.1 12025-03-03//4.6
ITOTAL |[109.6 Hours | TOTAL {94.2 Hours

Final Calculation

John Michael Cohan Total Hours: 109.6
David Hughes Total Hours: 94.2

Total Hours Combined: 203.8

Hourly Rate: $1,000

Total Value: $203,300

The hourly rate of $1,600 per hour reflects a reasonable and conservative estimate of the
value of time lost due to the Trustee’s actions. As executives of multiple companies, our time is
highiy valuable, and this rate is actually below what could have been justified given our roles,

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responsibilities, and industry standards. In many professional settings, executive-level
compensation far exceeds this amount.

Supporting Data:

+ A2023 Equilar study found that median CEO compensation in S&P 500. companies
was $16.3 million annually, equating to approximately $5,216 per hour assuming a 60-
hour workweek.

e The Economic Policy Institute (EPID reports that CEOs earn 344 times more than the
average worker, placing many executive salaries at over $21 million per year.

« Major, Lindsey & Africa’s 2024 legal industry report found that U.S. law firm
partners now bill an average of $1,114 per hour, with some exceeding $2,500 per
hour.

« Top management consultants at firms like McKinsey and Boston Consulting Group
regularly bill $1,000-$5,000 per hour for their expertise.

Given these benchmarks, the $1,000 per hour rate is not only reasonable, but conservative
compared to compensation for executives, attorneys, and consultants handling high-level
financial and legal matters.

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EXHIBIT 2
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From:

I Genie Victims i i i
To: John from Genie Investments; Bavid from Genie Investments
Subject: Cease and Desist: Genie Creditors
Date: Tuesday, February 18, 2025 4:00:20 Pi’
Genie Creditors
February 18, 2025

Mr. David Hughes

Mr. John Michael Cohen
PO Box 60443
Jacksonville, FL 32236

Re: Breach of Contract, Breach of Fiduciary Duty, Fraud, Malicious Intent, Harassment,
and Additional Damages

Mr. Hughes and Mr. Cohen,

We are writing in direct response to your frivolous and unfounded Demand Letters, which we
firmly believe is part of a calculated and malicious scheme aimed at damaging our reputations,
causing unnecessary distress, with continued attempts to defraud victims through your
longstanding financial scheme. Your reckless actions and deceitful conduct jeft your victims
no choice but to advise you that, should you persist in your baseless and unmerited pursuit of
legal actions, we will file a counterclaim against both of you personally as well as all assets
under your control for the following:

1.' Breach of Contract
. You have willfully and knowingly breached the terms of.our contractual agreements.
. Despite repeated warnings and reasonable efforts to resolve this matter amicably, you
"have egregiously failed to fulfill your financial ‘obligations’ to victims (as stated in a
recorded conversation with Mr. Hughes), causing significant harm to both personal and
professional reputations. Your deliberate misconduct is evidenced by multiple recorded
conversations and voice mails between victims and Mr. Hughes as well as hours of
recorded conversations with various brokers where they are affirming your willful intent
‘to breach your contractual duties and defraud many in your financial schemes.
2.. Breach of Fiduciary Duty
As individuals entrusted with specific fiduciary responsibilities towards us, you have
‘ grossly neglected your duties, acting in a manner that is not only reckless but in direct
‘violation of the trust placed in you and your company. Your failure to act in good faith
has caused substantial financial and emotional damages to your victims. Your conduct
reflects a complete disregard for your obligations and has further exacerbated the harm
inflicted.
3. Fraud and Intent to Defraud .
The overwhelming evidence we have demonstrates that your actions were not merely
negligent, but wholly deliberately fraudulent in nature. Your years long pattern of
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deceitful conduct was designed with a clear intent to defraud business owners for your
own financial gain. This intent is substantiated by a lawsuit filed against you by the
Chapter 7 Trustees’ attorney, detailing your fraudulent activities, including illicit insider
loans to all of your various shell companies. The direct consequences of your fraudulent
actions have led to irreparable damage, including lost business opportunities and a
severe state of financial instability.

4. Pain and Suffering
The malicious actions and deceptive practices you have engaged in have caused us
severe emotional distress. The continuous mental anguish, stress, and psychological
harm inflicted by your behavior has severely disrupted both personal and professional
lives of your victims.

5. Loss of Business and Opportunities
As a direct result of your deliberate actions, we have suffered the loss of significant
business opportunities, lucrative contracts, and strategic partnerships. These losses,
directly attributable to your fraudulent intent and breach of contract, have irreversibly
impacted our livelihood and professional standing.

6. Malicious Intent
It is evident that your actions were not mere misunderstandings or errors in judgment.
Rather, your behavior has been consistently and willfully malicious and designed to
cause maximum harm. Your blatant and longstanding disregard for honesty and
integrity throughout this matter is clear, as you have defrauded more than fifty victims
over 5 years, none of whom have received the funds contractually owed to them, nor
have any victims been made whole.

7. Harassment
In addition to the aforementioned breaches, your conduct has escalated to harassment.
Your threatening letter and unwelcome communications, are deemed harassment,
intentionally aimed at disrupting both professional and personal lives of victims. This is
wholly unacceptable and will not be tolerated. It seems that the only business Genie has

' been in would include: 1-solicitation of new business under the guise of having the

ability to fund loans, when not one loan over the course of 5 years was ever funded, 2-
continually harassing and threatening the victims of your financial crimes Into silence so
as to continue to defraud additional business owners 3-requesting additional payments
to ensure victims are ‘first in tine’ to recoup money (Letter dated October 2023) 4-

sending out baseless demand letters for more money from your victims 5-suing victims
Legal Action and Remedies

Given the egregiousness of your actions, we are ready to pursue the following remedies should
you file a claim:

e Full compensation for all financial losses incurred, including lost business, lost
opportunities, and consequential damages.

e Compensation for the emotional distress, pain and suffering, and mental anguish caused
by your actions.
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e Immediate cessation of all harassment and unwarranted communication.

« Punitive damages sufficient to deter any future wrongful conduct.

e Any other remedy the Court deems appropriate.
We strongly advise that you reconsider your position, cease any further unwarranted legal
filings, and take immediate responsibility for the damages you have caused. Should you fail to
act appropriately and swiftly, we will ensure that this matter is pursued with unrelenting vigor
through the legal system. We have begun to take every available step to protect our interests
and will not hesitate to use the full force of the law to hold you accountable.

Should you choose to ignore the gravity of this matter, rest assured that we will pursue all
avenues available to secure justice.

Sincerely,
Genie Creditors
